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4
     Attorney for defendant Shirley Davidson
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6
                 IN THE UNITED STATES DISTRICT COURT IN AND FOR
7
                          THE EASTERN DISTRICT OF CALIFORNIA
8
     UNITED STATES OF AMERICA,            )           Case No. 1:12-cr-00168 AWI-BAM
9
                                          )
                                          )           STIPULATION TO CONTINUE STATUS
10
                        Plaintiff,        )           CONFERENCE HEARING, AND ORDER
                                          )           THEREON
11
     v.                                   )
                                          )           New Date: September 16, 2013
12
     SHIRLEY DAVIDSON, et al.,            )           Time: 10:00 a.m.
                                          )           Crtrm: Hon. Anthony W. Ishii
13
                        Defendants.       )
     ___________________________________ )
14

15          IT IS HEREBY STIPULATED by and between the parties hereto, and through

16   their respective attorneys of record herein, that the Status Conference Hearing, in the

17   above captioned matter, scheduled for September 9, 2013 at 1:00 p.m., may be

18   continued to September 16 at 10:00 a.m.

19          Defendant Shirley Davidson has filed a motion under 18 U.S.C. §4241 for a

20   competency determination. Hearing on that motion has been calendared for September

21   16, 2013 at 10:00 a.m. In an effort to conserve judicial and attorney resources the parties

22   have agreed to move the status conference to occur on the same day as the §4241

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1    hearing.
2
           Counsel for defendant Shirley Davidson will use this time
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     for case preparation, further consultation with Ms. Davidson and
4    to review investigation materials.

5          For purpose of computing time under the Speedy Trial Act, 18 U.S.C. §3161, et

6    seq., within which trial must commence, the time period of September 9, 2013 to

7    September 16, 2013, inclusive, is deemed excludable because it results from a

8    continuance granted by the Court at defendant’s request on the basis of the Court’s

9    finding that the ends of justice served by taking such action outweigh the best interest

10   of the public and the defendant in a speedy trial.

11                So stipulated.

12
     Dated: August 14, 2013                      /s/ Carolyn D. Phillips
13                                             CAROLYN D. PHILLIPS
                                               Attorney for Shirley Davidson
14
     Dated: August 14, 2013                    /s/ James Homola
15                                             JAMES HOMOLA
                                               Attorney for James Davidson
16

17   Dated: August 14, 2013                     BENJAMIN B. WAGNER
                                                United States Attorney
18

19                                       By:    /s/Grant B. Rabenn
                                                GRANT B. RABENN
20                                              Attorneys for the United States.

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1
2                                           ORDER

3          IT IS SO ORDERED that the Status Conference on September 9, 2013 at 1:00 p.m.,

4    before Judge McAuliffe is continued to Judge Ishii’s calendar of September 16 at 10:00

5    a.m. for Motion hearing and time is excluded for the reasons stated above.

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7       IT IS SO ORDERED.

8                                                Dated:    August 15, 2013           /s/
     Barbara A. McAuliffe          _
9                                                UNITED STATES MAGISTRATE JUDGE

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